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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 DEANDRE S. WASHINGTON,

        Plaintiff,

 v.                                                  Case No. 1:22-cv-02919

 HEALTHCARE REVENUE RECOVERY
 GROUP, LLC, D/B/A ACCOUNT
 RESOLUTION SERVICES, LLC,

         Defendant.

                 STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, DEANDRE

S. WASHINGTON, and the Defendant, HEALTHCARE REVENUE RECOVERY GROUP, LLC,

through their respective counsel that the above-captioned action is dismissed, conditionally without

prejudice to become with prejudice by January 06, 2023, pursuant to Federal Rule of Civil Procedure

41. Each party shall bear its own costs and attorney fees.


Dated: December 7, 2022                                      Respectfully Submitted,

 DEANDRE S. WASHINGTON                              HEALTHCARE REVENUE RECOVERY
                                                    GROUP, LLC, D/B/A ACCOUNT
 /s/ Marwan R. Daher                                RESOLUTION SERVICES, LLC
 Marwan R. Daher
 Sulaiman Law Group, Ltd.                           /s/ Nabil G. Foster
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 Lombard, IL 60148                                  Alyssa A. Johnson
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 7, 2022, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system.



                                                                    /s/ Marwan R. Daher
                                                                    Marwan R. Daher, Esq.
